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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-177V
                                        UNPUBLISHED


    DUSTIN GIBSON,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: August 20, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Leigh Rosser, Muller Brazil, LLP, Dresher, PA, for petitioner.

Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

        On February 20, 2020, Dustin Gibson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (GBS)
resulting from the adverse effects of an influenza (flu) vaccination he received on October
4, 2018. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

       On August 20, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent determined that Petitioner “suffered the Table injury of GBS
following a flu vaccine within the Table time period, and that there is not a preponderance

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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of the medical evidence that petitioner’s GBS was due to a factor unrelated to the
vaccination . . . .” and that Petitioner “experienced sequelae of GBS for more than six
months.” Id. at 5. Respondent further agrees that the scope of damages to be awarded
is limited to petitioner’s GBS and its related sequelae only. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Brian H. Corcoran
                                 Brian H. Corcoran
                                 Chief Special Master




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